
S &amp; R Medical, P.C., as Assignee of Igor Vayner, Appellant, 
againstGEICO General Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Kings County (Reginald A. Boddie, J.), entered August 6, 2013. The order, insofar as appealed from and as limited by the brief, upon denying plaintiff's motion for summary judgment, failed to make findings, pursuant to CPLR 3212 (g), that plaintiff had established certain facts for all purposes in the action.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. The Civil Court denied both motions, finding that there were triable issues of fact. 
Plaintiff's sole argument on appeal is that the Civil Court, upon denying plaintiff's motion for summary judgment, should have made findings, pursuant to CPLR 3212 (g), that plaintiff had established certain facts for all purposes in the action. As we decline plaintiff's request to limit the issues for trial (see CPLR 3212 [g]; Metropolitan Diagnostic Med. Care, P.C. v New York Cent. Mut. Fire Ins. Co., 47 Misc 3d 130[A], 2015 NY Slip Op 50383[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]; Pollenex Servs., Inc. v GEICO Gen. Ins. Co., 44 Misc 3d 126[A], 2014 NY Slip Op 50953[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2014]), the order, insofar as appealed from, is affirmed.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: June 23, 2016










